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              EXHIBIT A
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                      IN THE UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re:                                              §       Chapter 11
                                                    §
ATP Oil & Gas Corporation,                          §       Case No.: 12-36187
                                                    §
         Debtor.                                    §       Hon. Marvin Isgur


FINAL ORDER APPROVING: (I) COMPROMISES AND SETTLEMENTS BETWEEN
   THE DEBTOR AND MARUBENI OIL & GAS (USA) INC. AND BETWEEN THE
   DEBTOR AND THE WILLIAMS COMPANIES, INC.; (II) SALE OF DEBTOR’S
INTEREST IN CERTAIN INVENTORY FREE AND CLEAR OF LIENS, CLAIMS AND
 ENCUMBRANCES; (III) ASSUMPTION AND ASSIGNMENT OF CERTAIN RIGHTS
  OF WAY FREE AND CLEAR OF LIENS, CLAIMS AND ENCUMBRANCES; (IV)
APPROVING CERTAIN PROCEDURES RELATED TO THE ASSUMPTION AND THE
   ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS
   AND/OR UNEXPIRED LEASES; (V) REJECTION OF CERTAIN EXECUTORY
 CONTRACTS AND INCORPORATING PROCEDURES RELATING THERETO; (VI)
    FORM AND MANNER OF THE SALE AND THE SALE HEARING; AND (VI)
         GRANTING RELATED RELIEF CONSISTENT THEREWITH
                       [Refers to Docket Number 2937]

         Upon the Motion (the “Motion”)1 of ATP Oil & Gas Corporation (the “Debtor”)

pursuant to 11 U.S.C. §§ 105(a), 363, and 365 and Bankruptcy Rules 2002, 6004 and 9019 for

an Order approving: (1) the transfer, conveyance and/or quitclaim of the Debtor’s interest in

certain of its assets and properties (more particularly described in the Motion as the CE

Inventory) free and clear of claims and liens, pursuant to the terms and conditions of the

agreements that are attached hereto as Exhibits 1 and 2 (collectively with all exhibits and

documents and agreements ancillary thereto, the “Agreements”), entered into by and between

the Debtor and Marubeni Oil & Gas (USA) Inc. (“MOGUS”), the Debtor having determined

that MOGUS has submitted the highest and best offer for the Debtor’s interest in the CE

1
  The Motion was filed in the above-referenced matter on January 31, 2014 as document number 2937. Capitalized
terms used herein but not otherwise defined shall have the same meaning as in the Motion.



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Inventory; (2) the settlements and compromises among the Debtor, MOGUS, and The Williams

Companies, Inc. (“Williams”), contained in the Motion and embodied by the Agreements; (3)

the assumption and assumption and assignment of certain executory contracts and unexpired

leases; and (4) the rejection of certain executory contracts, and upon adequate and sufficient

notice of the Motion, the hearing on the Motion and the Court having reviewed and considered

(x) the Motion and all relief related thereto, (y) all pleadings filed in response to the relief

requested in the Motion, and (z) the statements of counsel and evidence presented at the

hearing on the Motion in support of the relief requested in the Motion; and it appearing that the

Court has jurisdiction to consider and determine this matter in accordance with 28 U.S.C. §§

157 and 1334; and it further appearing that the legal and factual bases set forth in the Motion

and at the hearing establish just cause for the relief granted herein; and it appearing that the

relief requested in the Motion is in the best interests of the Debtor, its estate, and creditors and

other parties-in-interest; and upon the record of the       hearing and all other pleadings and

proceedings in this Chapter 11 case, including the Motion; and after due deliberation thereon

and good and sufficient cause appearing therefor;

        IT IS HEREBY FOUND AND DETERMINED:

                       Jurisdiction, Final Order and Statutory Predicates

        A.      The Court has jurisdiction to consider the Motion and the relief requested therein

under 28 U.S.C. §§ 157 and 1334. The Motion is a core proceeding under 28 U.S.C. §

157(b)(2)(A), (N) and (O). Venue is proper in the Court under 28 U.S.C. §§ 1408 and 1409.

        B.      The statutory predicates for the relief sought in the Motion are Sections 105(a),

363(b), (f), and (m), and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, and

9019.



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        C.      This order (the “MOGUS Order”) constitutes a final order within the meaning of

28 U.S.C. § 158(a).




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                                             The Motion

        D.      Actual written notice of the Motion, the hearing on the Motion (the “Motion

Hearing”), and a reasonable opportunity to object or be heard with respect to the Motion and the

relief requested therein, has been afforded to all known interested entities, including, but not

limited to the following parties: (i) all entities known by the Debtor to have expressed an interest

in a transaction with respect to the Debtor’s interest in the CE Inventory during the past nine (9)

months, including all parties who executed a non-disclosure agreement in connection with the

Debtor’s previous sale of substantially all of its assets; (ii) all state and local taxing authorities or

recording offices which have a reasonably known interest in the relief requested; (iii) all

counterparties to the contracts identified as being assumed or assumed and assigned in Exhibit 3;

(iv) all parties who are known or reasonably believed, after reasonable inquiry, to have asserted

any lien, encumbrance,       or claim on, or other interest in the Debtor’s interest in the CE

Inventory; and (v) upon all parties set forth in the Debtor’s Master Service List maintained in

accordance with this Court’s Order Establishing Notice Procedures [Dkt. No. 132] (to the extent

any party to receive notice thereby has not received notice pursuant to sections (i) through (iv)

above) (collectively, the “Notice Parties”).

        E.      As evidenced by the affidavits of service previously filed with this Court, proper,

timely, adequate, and sufficient notice of the Motion, the Motion Hearing, and the transactions

contemplated thereby was provided in accordance with the orders previously entered by this

Court, Sections 105(a), 363, and 365 of the Bankruptcy Code, and Bankruptcy Rules 2002, 6004,

9007, and 9008. The notices described herein were good, sufficient, and appropriate under the

circumstances, and no other or further notice of the Motion or the Motion Hearing is or shall be

required.



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        F.      The disclosures made by the Debtor concerning the Agreements, the Motion, the

Motion Hearing, and the transfer, conveyance and/or quitclaim to MOGUS of the CE Inventory

were good, complete, and adequate.

                                      Good Faith of MOGUS

        G.      The Agreements were negotiated, proposed, and entered into by the Debtor and

MOGUS without collusion, in good faith, and from arms’-length bargaining positions.

        H.      MOGUS is not an “insider” or “affiliate” of the Debtor as those terms are

defined in Sections 101(31) and 101(2) of the Bankruptcy Code. Neither the Debtor nor

MOGUS has engaged in any conduct that would cause or permit the Agreements to be

avoided under Section 363(n) of the Bankruptcy Code. Specifically, MOGUS has not acted in

a collusive manner with any person, and the waiver of substantial claims against MOGUS was

not controlled by any agreement among any bidder.

        I.      MOGUS is acquiring the Debtor’s interest in and to the CE Inventory in good

faith and is therefore a good faith purchaser within the meaning of Section 363(m) of the

Bankruptcy Code and under other applicable bankruptcy and non-bankruptcy law. MOGUS

proceeded in good faith in connection with all aspects of the acquisition of the Debtor’s

interest in the CE Inventory, including, but not limited to: (i) neither inducing nor causing the

Debtor’s Chapter 11 filing; and (ii) disclosing all consideration to be made by MOGUS in

connection with the transfer, conveyance and/or quitclaim of the Debtor’s interest in the CE

Inventory to MOGUS. Accordingly, MOGUS is entitled to all of the protections afforded

under Section 363(m) of the Bankruptcy Code and under other applicable Bankruptcy and

non-Bankruptcy Law.

                                      Highest and Best Offer

        J.      The Agreements and the related relief requested in the Motion constitute the

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highest and best offers for the Debtor’s interest in the CE Inventory and will provide a greater

recovery for the Debtor’s estate than would be provided by any other available alternative. The

Debtor’s determination that the Agreements and the related relief requested in the Motion

constitute the highest and best offer for the Debtor’s interest in the CE Inventory demonstrates a

valid and sound exercise of the Debtor’s business judgment.

        K.      MOGUS is a company organized and existing under the laws of the United

States. Pursuant to the Agreements, MOGUS agreed to pay the consideration as reflected in

the Agreements and the Motion for the Debtor’s interest in the CE Inventory to be conveyed,

transferred or quitclaimed to MOGUS thereunder.

        L.      The Agreements represent a fair and reasonable offer to acquire the Debtor’s

interest in the CE Inventory under the circumstances of this Chapter 11 case. No other entity or

group of entities has offered to purchase or acquire the Debtor’s interest in the CE Inventory for

greater overall value to the Debtor’s estate than MOGUS.

        M.      Approval of the Motion and the Agreements and the consummation of the

transactions contemplated thereby is in the best interests of the Debtor’s Chapter 11 estate

(taken as a whole), its creditors, and other parties in interest.

                               No Fraudulent Transfer or Merger

        N.      The consideration provided by MOGUS pursuant to the Agreements and the

Motion (i) is fair and adequate, (ii) is the highest or otherwise best offer for the Debtor’s interest

in the CE Inventory, (iii) will provide a greater recovery for the Debtor’s estate than would be

provided by any other available alternative, and (iv) constitutes reasonably equivalent value (as

those terms are defined in each of the Uniform Fraudulent Transfer Act, Uniform Fraudulent

Conveyance Act, and Section 548 of the Bankruptcy Code) and fair consideration under the

Bankruptcy Code and under the laws of the United States, any state, territory, possession, or the

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District of Columbia. No other person, entity, or group of entities has offered to purchase or

acquire the Debtor’s interest in the CE Inventory for greater overall value to the Debtor’s estate

than MOGUS. The Debtor’s determination that the Agreements and the related relief requested

in the Motion constitute the highest and best offer for the Debtor’s interest in the CE Inventory

constitutes a valid and sound exercise of the Debtor’s business judgment. Approval of the

Motion and the Agreements, and the consummation of the transactions contemplated thereby, is

in the best interests of the Debtor, its estate, creditors, and other parties in interest.

        O.      The Agreements and the related relief requested in the Motion were not entered

into or crafted for the purpose of hindering, delaying, or defrauding creditors under the

Bankruptcy Code or under the laws of the United States, any state, territory, possession, or the

District of Columbia.      Neither the Debtor nor MOGUS is fraudulently entering into the

transactions contemplated by the Motion or the Agreements.

                                         Validity of Transfer

        P.      The Debtor, to the extent necessary and applicable, has: (i) full corporate power

and authority to execute and deliver the Agreements and all other documents contemplated

thereby; (ii) all corporate authority necessary to consummate the transactions contemplated by

the Agreements; and (iii) taken all corporate action necessary to authorize and approve the

Agreements and the consummation of the transactions contemplated thereby. The transfer,

conveyance and/or quitclaim of the Debtor’s interest in the CE Inventory has been duly and

validly authorized by all necessary corporate action. No consents or approvals, other than

those expressly provided for in the Agreements, are required for the Debtor to consummate the

transfer, conveyance and/or quitclaim of the Debtor’s interest in the CE Inventory, execute the

Agreements, or consummate the transactions contemplated thereby.

        Q.      The Debtor has title to the extent of its interest in the CE Inventory. The transfer

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of the Debtor’s interest in the CE Inventory to MOGUS will be, as of February 27, 2014, a

legal, valid, and effective transfer of the Debtor’s interest in the CE Inventory, which transfer

vests or will vest MOGUS with all right, title, and interest of the Debtor in the CE Inventory,

free and clear of (i) all liens, claims and encumbrances, including, without limitation, any such

liens (x) that purport to give to any party a right of setoff or recoupment against, or a right or

option to effect any forfeiture, modification, profit sharing interest, right of first refusal,

purchase, or repurchase right or option, or termination of, the Debtor’s interest in the CE

Inventory, or any similar rights, or (y) in respect of taxes, restrictions, rights of first refusal,

charges of interests of any kind or nature, if any, including, without limitation, any restriction of

use, voting, transfer, receipt of income, or other exercise of any attributes of ownership and (ii)

all debts arising under, relating to, or in connection with any act of the Debtor or claims (as that

term is defined in Section 101(5) of the Bankruptcy Code), liabilities, obligations, demands,

guaranties, options, rights, contractual commitments, restrictions, interests, and matters of any

kind and nature, whether arising prior to or subsequent to the commencement of this case, and

whether imposed by agreement, understanding, law, equity or otherwise relating to, accruing or

arising at any time prior to the February 27, 2014 (collectively in this clause (ii), the “Claims”

and, together with the liens and encumbrances, the “Claims and Interests”).

                                      Section 363(f) is Satisfied

        R.      The conditions of Section 363(f) of the Bankruptcy Code have been satisfied in

full; therefore, the Debtor may transfer, convey and/or quitclaim its interest in and to the CE

Inventory to MOGUS free and clear of any Claims and Interests in such property.

        S.      MOGUS would not have entered into the Agreements and would not

consummate the transactions contemplated thereby if the transfer, conveyance and/or quitclaim

of the CE Inventory to MOGUS were not free and clear of all Claims and Interests of any kind

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or nature whatsoever, or if MOGUS would, or in the future could, be liable for any of such

Claims and Interests.

        T.      The Debtor may transfer, convey and/or quitclaim its interest in and to the CE

Inventory free and clear of all Claims and Interests against the Debtor, its estate, or any of the CE

Inventory because those holders of Claims and Interests against the Debtor, its estate, or any of the

CE Inventory, who did not object, or who withdrew their objections to the transfer, conveyance

and/or quitclaim or the Motion, are deemed to have consented thereto pursuant to Section

363(f)(2) of the Bankruptcy Code.

                     Assumption and Assignment of the Assigned Contracts

        U.      The assumption and assumption and assignment of the contracts and agreements

identified on in Exhibit 10 to the Motion pursuant to the terms of this MOGUS Order are

integral to the Agreements and are in the best interests of the Debtor, its estate, creditors, and

other parties in interest, and represent the Debtor’s reasonable exercise of sound and prudent

business judgment.

        V.      The respective amounts set forth opposite the contracts and agreements identified

on Exhibit 10 of the Motion to be assumed and/or assumed and assigned are the sole amounts

necessary under Sections 365(b)(1)(A) and (B) and 365(f)(2)(A) of the Bankruptcy Code to cure

all monetary defaults and pay all actual pecuniary losses under the respective Assigned

Contracts, which are related to each of the Agreements (collectively, the “Cure Amounts”).

        W.      MOGUS has demonstrated adequate assurance of future performance with

respect to the contracts to be assumed and assigned to it as identified on Exhibit 10 of the

Motion, pursuant to Section 365(b)(1)(C) of the Bankruptcy Code.




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                            Rejection of Certain Executory Contracts

         X.     The rejection of the contracts and agreements identified on Exhibit 4 and

Exhibit 9 of the Motion are hereby approved, and the Seller is instructed to follow the

procedures established for rejection of such contracts by the Order Pursuant to 11 U.S.C. §

365(a) (I) Authorizing Rejection of Certain Unexpired Leases and Executory Contracts Related

to the Debtor’s Remaining Properties, Relinquishment, and Abandonment of Any Interests

Related Thereto and (II) Approving Procedures for the Rejection of Executory Contracts and

Unexpired Leases [Dkt. No. 2096] (“Prior Rejection Order”) entered on June 21, 2013. All

rejection damage claims to be asserted by MOGUS and Williams associated with any such

contracts or agreements are hereby disallowed.

                        Compelling Circumstances for Immediate Relief

        A.      The Debtor has demonstrated, through the testimony and/or other evidence

admitted at the Motion Hearing and the representations of counsel made on the record of the

Motion Hearing, good and sufficient reasons for approval of the Agreements and the Motion.

The relief requested in the Motion is in the best interests of the Debtor, its estate, its creditors,

and other parties-in-interest. The Debtor has demonstrated (i) good, sufficient, and sound

business purposes and justifications for approving the Agreements and (ii) compelling

circumstances for the relief requested in the Motion outside of (a) the ordinary course of

business, pursuant to Section 363(b) of the Bankruptcy Code and (b) a Chapter 11 plan, in that,

among other things, the consummation of the transactions contemplated by the Agreements and

set forth in the Motion is necessary and appropriate to maximize the value of the Debtor’s

estate, and the Motion will provide a means for the Debtor to maximize distributions to its

creditors.

        B.      To maximize the value to the estate and to preserve the viability of the businesses

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to which they relate, it is essential that the transfer, conveyance and/or quitclaim and all other

relief requested in the Motion occur immediately upon entry of the MOGUS Order. Time is of

the essence in consummating the relief requested in the Motion.

        C.      Given all of the circumstances of this Chapter 11 case and the adequacy and fair

value of the consideration to be paid by MOGUS, the Motion constitutes a reasonable and sound

exercise of the Debtor’s business judgment and should be approved.

        D.      The consummation of the relief requested in the Motion is legal, valid, and

properly authorized under all applicable provisions of the Bankruptcy Code, including, without

limitation, Sections 105(a), 363(b), 363(f), and 363(m) of the Bankruptcy Code, and all of the

applicable requirements of such Sections have been complied with in respect thereof.

        NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

DECREED THAT:

                                        General Provisions

        1.      The findings and conclusions set forth herein constitute the Court’s findings of

fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this Chapter

11 case pursuant to Bankruptcy Rule 9014. To the extent that any of the findings of fact

constitute conclusions of law, they are adopted as such. To the extent any of the conclusions of

law constitute findings of fact, they are adopted as such.

        2.      The relief requested in the Motion is granted and approved as set forth in this

MOGUS Order, and the transactions contemplated thereby and by the Agreements are approved

as set forth in this MOGUS Order. All capitalized terms not otherwise defined in this MOGUS

Order have the meanings ascribed to such terms in the Motion or the Agreements, as applicable.

        3.      The consideration to be paid by MOGUS pursuant to the Motion and under the

Agreements is hereby approved.

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        4.      All objections to the Motion or the relief requested therein that have not been

withdrawn, waived, or settled by announcement to the Court during the Motion Hearing or by

stipulation filed with the Court, including any and all reservations of rights included in such

objections or otherwise, are hereby denied and overruled on the merits with prejudice. Those

parties who did not object or withdrew their objections to the Motion are deemed to have

consented pursuant to Section 363(f)(2) of the Bankruptcy Code.

                                       Approval of the Agreements

        5.      The Agreements and all other documents ancillary thereto, and all of the terms

and conditions thereof, are hereby approved.

        6.      Pursuant to Sections 363(b) and (f) of the Bankruptcy Code, the Debtor is

authorized and empowered to take any and all actions necessary or appropriate to (i)

consummate the relief requested in the Motion pursuant to and in accordance with the terms and

conditions of the Agreements, (ii) immediately transfer, convey and/or quitclaim to MOGUS its

interest in the CE Inventory as contemplated in the Agreements, the Motion and this MOGUS

Order, and (iii) execute and deliver, perform under, consummate, and implement the

Agreements, including the transfer, conveyance and/or quitclaim of the Debtor’s interest in the

CE Inventory to MOGUS in accordance with the Agreements and the Motion, together with all

additional ancillary instruments and documents that may be reasonably necessary or desirable to

implement the Agreements and the Motion.

        7.      Except as provided in paragraph 61 hereof, This MOGUS Order shall be binding

in all respects upon: (a) the Debtor; (b) the Debtor’s estate; (c) all creditors of, and holders of

equity interests in, the Debtor; (d) all holders of liens, claims, encumbrances or other interests

(whether known or unknown) in, against, or on all or any portion of the CE Inventory; (e)

MOGUS and all successors and assigns of MOGUS; (f) the CE Inventory; (g) any trustee

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subsequently appointed in the Debtor’s Chapter 11 case, or a Chapter 7 trustee appointed upon a

conversion of this case to a case under Chapter 7 under the Bankruptcy Code; and (h) any plan

administrator, liquidating trustee or similar party appointed pursuant to the terms of a plan of

reorganization that is confirmed in Debtor’s Chapter 11 case. This MOGUS Order and the

Agreements shall inure to the benefit of the Debtor, its estate and creditors, MOGUS, and the

respective successors and assigns of each of the foregoing.

                                   Transfer of the CE Inventory

        8.      Pursuant to Sections 105(a), 363(b), and 363(f) of the Bankruptcy Code, the

Debtor is authorized to transfer, convey and/or quitclaim its interest in and to the CE Inventory

to MOGUS as of the date of this MOGUS Order, and such transfer shall (a) constitute a legal,

valid, binding, and effective transfer of the Debtor’s interest in the CE Inventory to MOGUS,

(b) vest MOGUS with all of the Debtor’s right, title and interest in the CE Inventory, and (c) be

free and clear of all Claims and Interests. As of the date of this MOGUS Order, MOGUS shall

take title to and possession of the Debtor’s interest in the CE Inventory, free and clear of all

Claims and Interests.

        9.      The Debtor is hereby authorized to take any and all actions necessary to

consummate the transactions contemplated by the Agreements, including any actions that

otherwise would require further approval by the Debtor’s board of directors, board of managers,

and/or the Chief Restructuring Officer, as the case may be, without the need of obtaining such

approvals.

        10.     The transactions authorized herein shall be of full force and effect, regardless of

the Debtor’s lack of good standing in any jurisdiction in which it is formed or authorized to

transact business.    Upon consummation of the transactions set forth in the Agreements,

MOGUS shall be authorized to file termination statements or lien terminations in any required

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jurisdiction to remove any record, notice filing, or financing statement recorded to attach,

perfect, or otherwise notice any lien or encumbrance, with respect to the Debtor’s interest in

the CE Inventory, that is extinguished or otherwise released pursuant to this MOGUS Order

under Section 363 and the related provisions of the Bankruptcy Code.

        11.     Subject to the terms, conditions, and provisions of this MOGUS Order, all

entities are hereby forever prohibited and enjoined from taking any action that would adversely

affect or interfere with the ability of the Debtor to transfer, convey and/or quitclaim the Debtor’s

interest in the CE Inventory to MOGUS in accordance with the terms of the Agreements and

this MOGUS Order.

        12.     Subject to the terms, conditions, and provisions of this MOGUS Order, all

entities that are in possession of some, all, or any portion of the CE Inventory in which Debtor

has an interest on February 27, 2014 are directed to surrender possession of such assets to

MOGUS or their assignees as of February 27, 2014.

        13.     The transfer of the Debtor’s interest in the CE Inventory to MOGUS pursuant to

the Agreements does not require any consents other than as specifically provided for in the

Motion and in the Agreements.

        14.     A certified copy of this MOGUS Order may be filed with the appropriate clerk

and/or recorded with the recorder of any state, county, or local authority to act to cancel any of

the Claims and Interests of record.

        15.     If any person or entity which has filed statements or other documents evidencing

Claims and Interests on or in the Debtor’s interest in the CE Inventory shall not have delivered

to the Debtor prior to February 27, 2014, in proper form for filing and executed by the

appropriate parties, termination statements, instruments of satisfaction, releases of Claims and

Interests, and any other documents necessary for the purpose of documenting the release of all

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Claims and Interests which the person or entity has or may assert with respect to the Debtor’s

interest in the CE Inventory, the Debtor is hereby authorized and directed, and MOGUS is

hereby authorized, on behalf of the Debtor and each of its creditors, to execute and file such

statements, instruments, releases, and other documents on behalf of such person or entity with

respect to the Debtor’s interest in the CE Inventory.

        16.     On February 27, 2014, this MOGUS Order shall be construed and shall constitute

for any and all purposes a full and complete general assignment, conveyance, quitclaim and

transfer of the Debtor’s interest in the CE Inventory, effective as of the date of this MOGUS

Order. This MOGUS Order is and shall be effective as a determination that, on February 27,

2014, all Claims and Interests, and any other interest of any kind or nature whatsoever existing

as to the Debtor’s interest in the CE Inventory shall have been unconditionally released,

discharged, and terminated, and that the conveyances described herein have been effected.

        17.     This MOGUS Order is and shall be binding upon and govern the acts of all

persons and entities, including, without limitation, all filing agents, filing officers, title agents,

title companies, recorders of mortgages, recorders of deeds, registrars of deeds, administrative

agencies, governmental departments, secretaries of state, federal, state and local officials, and

all other persons and entities who may be required by operation of law, the duties of their

office, or contract, to accept, file, register, or otherwise record or release any documents or

instruments, or who may be required to report or insure any title or state of title in or to any

lease; and each of the foregoing persons and entities is hereby directed to accept for filing any

and all of the documents and instruments necessary and appropriate to consummate the

transactions contemplated by the Agreements.




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                                 Prohibition of Actions Against MOGUS

        18.     Except as otherwise expressly provided for in this MOGUS Order or the

Agreements, MOGUS shall not have any liability or other obligations arising under or related to

the acquisition of the Debtor’s interest in the CE Inventory.

        19.     Except as otherwise permitted by the Agreements or this MOGUS Order, all

persons and entities, including, but not limited to, all debt security holders, equity security

holders, governmental, tax and regulatory authorities, lenders, trade creditors, litigation

claimants, and other creditors, holding Claims and Interests or other interests of any kind or

nature whatsoever against or in all or any portion of the Debtor’s interest in the CE Inventory

(whether legal or equitable, secured or unsecured, matured or unmatured, contingent or non-

contingent, liquidated or unliquidated, senior or subordinate), arising under or out of, in

connection with, or in any way relating to the Debtor, the operation of the Debtor’s business

prior to February 27, 2014, or the transfer of the Debtor’s interest in the CE Inventory to

MOGUS, hereby are forever barred, estopped, and permanently enjoined from asserting against

MOGUS, any of its affiliates, successors, assigns, or properties, or against the Debtor’s interest

in the CE Inventory, such persons’ or entities’ Claims and Interests or any other interests as it

relates to the Debtor’s interest in and to the CE Inventory, including, without limitation, the

following actions: (a) commencing or continuing in any manner any action or other proceeding

against MOGUS, any of its affiliates, successors, assigns, or properties in respect of or

otherwise relating to the Debtor’s interest in the CE Inventory; (b) enforcing, attaching,

collecting, or recovering in any manner any judgment, award, decree, or order against MOGUS,

any of its affiliates, successors, assigns, or properties in respect of or in relation to the Debtor’s

interest in the CE Inventory; (c) creating, perfecting, or enforcing any Claims and Interests

against MOGUS, any of its affiliates, successors, assigns, or properties, in respect of or in

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relation to the Debtor’s interest in the CE Inventory; (d) asserting any setoff, right of

subrogation or recoupment of any kind against any obligation due MOGUS, any of its affiliates,

successors, assigns, or properties but only insofar as it relates to the Debtor’s interest in the CE

Inventory; or (e) commencing or continuing any action, in any manner or place, that does not

comply with or is inconsistent with the provisions of this MOGUS Order, other orders of the

Court, or the Agreements or actions contemplated or taken in respect thereof but only insofar as

such relate to the Debtor’s interest in the CE Inventory. For the avoidance of doubt, no party,

other than the Debtor, by virtue of the Agreements or this MOGUS Order, is releasing any

claims against MOGUS that are not claims against, or in respect of, all or any portion of the

Debtor’s interest in the CE Inventory, and no claims of any third-party against MOGUS that do

not relate to the Debtor’s interest in the CE Inventory are released by virtue of the Agreements

or this MOGUS Order other than claims based upon (x) the acquisition by MOGUS of the

Debtor’s interest in the CE Inventory, (y) the actions taken by MOGUS in connection therewith,

and/or (z) the express terms of the Agreements as they apply to MOGUS’s acquisition of the

Debtor’s interest in the CE Inventory.

        20.     On February 27, 2014, or as soon as possible thereafter, each creditor is

authorized and directed, and MOGUS is hereby authorized, on behalf of each of the Debtor’s

creditors, to execute such documents and take all other actions as may be necessary to release

any Claims and Interests and other interests as they relate to the Debtor’s interest in the CE

Inventory, if any, as provided for herein, as such Claims and Interests may have been recorded

or may otherwise exist.

        21.     All persons and entities are hereby forever prohibited and enjoined from taking

any action that would adversely affect or interfere with the ability of the Debtor to transfer,



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convey and/or quitclaim its interest in the CE Inventory to MOGUS in accordance with the

terms of the Agreements and this MOGUS Order.

        22.     MOGUS has given substantial consideration under the Agreements for the

benefit of the Debtor, its estate, and creditors. As demonstrated at the hearing, the consideration

given by MOGUS shall constitute valid and valuable consideration for the releases of any and

all current and/or potential Claims and Interests pursuant to this MOGUS Order, which releases

shall be deemed to have been given in favor of MOGUS by all holders of Claims and Interests

against the Debtor’s interest in the CE Inventory. The consideration provided by MOGUS for

the Debtor’s interest in the CE Inventory under the Agreements and the Motion is fair and

reasonable, and accordingly, the transfer, conveyance and/or quitclaim of the Debtor’s interest

in the CE Inventory to MOGUS may not be avoided under Section 363(n) of the Bankruptcy

Code.

        23.     The Debtor is authorized to designate MOGUS as operator of Lease OCS-G

19939 covering Mississippi Canyon 348 (“MC 348”), subject to approval of the Bureau of

Ocean Energy Management (“BOEM”) and/or the Bureau of Safety Environmental

Enforcement (“BSEE” and collectively, the “Agencies”).

        24.     The Debtor is authorized to retain its current record title and/or operating rights

interest in and to MC 348. In addition, and to the extent possible under applicable regulations,

the Debtor is authorized to designate MOGUS as operator of Lease OCS-G 19935 covering

Mississippi Canyon 305 (“MC 305”) and the Kings Peak Leases.

        25.     The Debtor will provide access to MOGUS and/or its designee as to any and all

wells, files, information and/or documents associated with the Canyon Express Assets in order

to carry out the purposes and intent of the Motion and the Agreements. MOGUS may share



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such information with other entities as necessary for completion of the decommissioning

obligations.

        26.     The Debtor is authorized to amend the applicable Offshore Operating Agreement

(“OOA”) pertaining to MC 348 and, to the extent applicable, MC 305 so that MOGUS, as

operator, can net expenses against any revenue attributable to the Debtor’s working interest, net

revenue interest, and/or lease interest regarding any lease operating expenses (“LOEs”),

decommissioning costs and expenses, capital expenses, handling and issuance of Authorization

for Expenditures (“AFE”), and to provide for notices, votes and elections, salvage and sale and

such other and additional items and expenses arising in or related to operations associated with

MC 348 and MC 305.

        27.     The Debtor is authorized to convey, transfer and/or assign, free and clear of all

liens, claims and encumbrances in and to, all net proceeds from production in, from, to and/or

related to MC 348 to a decommissioning escrow (the “Decommissioning Escrow”) established

pursuant to the Abandonment Fund Agreement, said net proceeds to be used and/or utilized by

MOGUS to offset any decommissioning costs, expenses and/or liabilities attributable to the

Debtor’s obligation for plugging, abandonment and/or decommissioning costs and expenses

associated with the Canyon Express Assets and any other assets associated with Canyon

Express.

                          Assumption and Assignment of Assigned Contracts

        28.     Pursuant to Sections 105(a) and 365 of the Bankruptcy Code, and subject to and

conditioned upon the closing of the acquisition of the Debtor’s interest in the CE Inventory, the

Debtor’s assumption and assignment to MOGUS of the contracts to be assumed and assigned as

identified on Exhibit 10 to the Motion (“Assigned Contracts”), and MOGUS’s acceptance of

the Assigned Contracts on the terms set forth in the Agreements are hereby approved, and the

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requirements of Section 365(b)(1) of the Bankruptcy Code with respect thereto are hereby

deemed satisfied.

        29.     The Debtor is hereby authorized and directed in accordance with Sections 105(a),

363, and 365 of the Bankruptcy Code to: (a) assume and assign to MOGUS, effective upon

February 27, 2014, the Assigned Contracts identified on Exhibit 10 to the Motion, free and clear

of all Claims and Interests or other interests of any kind or nature whatsoever; and (b) execute

and deliver to MOGUS such documents or other instruments as may be necessary to assign and

transfer the Assigned Contracts identified on Exhibit 10 to the Motion to MOGUS.

        30.     The Assigned Contracts identified on Exhibit 10 to the Motion shall be

transferred and assigned to, and remain in full force and effect for the benefit of, MOGUS in

accordance with their respective terms, notwithstanding any provision in any such Assigned

Contract (including those of the type described in Sections 365(b)(2) and (f) of the Bankruptcy

Code) that prohibits, restricts, or conditions such assignment or transfer and, pursuant to Section

365(k) of the Bankruptcy Code.

        31.     All defaults or other obligations of the Debtor under the Assigned Contracts

identified on Exhibit 10 to the Motion arising or accruing prior to February 27, 2014 (without

giving effect to any acceleration clauses or any default provisions of the kind specified in

Section 365(b)(2) of the Bankruptcy Code), whether monetary or non-monetary, shall be cured

pursuant to Section 365 of the Bankruptcy Code.

        32.     To the extent a counterparty to an Assigned Contract identified on Exhibit 10 to

the Motion failed to timely object to a Cure Amount, such Cure Amount shall be deemed to be

finally determined and any such counterparty shall be prohibited from challenging, objecting to,

or denying the validity and finality of the Cure Amount at any time, and such Cure Amount, if

any, when paid, shall completely revive any Assigned Contract to which it relates. No sections

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or provisions of any Assigned Contract that purport to provide for additional payments,

penalties, charges, or other financial accommodations in favor of the counterparty to the

Assigned Contracts shall have any force and effect with respect to the assumption               and

assignments authorized by this MOGUS Order, and such provisions constitute unenforceable

anti-assignment provisions under Section 365(f) of the Bankruptcy Code and are otherwise

unenforceable under Section 365(e) of the Bankruptcy Code. No assignment of any Assigned

Contract pursuant to the terms of the Agreements and this MOGUS Order shall in any respect

constitute a default under any Assigned Contract. The counterparty to each Assigned Contract

shall be deemed to have consented to such assignment under Section 365(c)(1)(B) of the

Bankruptcy Code, and MOGUS shall enjoy all of the Debtor’s rights and benefits under each

such Assigned Contract as of the applicable date of assumption without the necessity of

obtaining such counterparty’s written consent to the assumption or assignment thereof.

        33.     All counterparties shall cooperate and expeditiously execute and deliver, upon

the reasonable request of MOGUS, and shall not charge the Debtor or MOGUS for, any

instruments, applications, consents, or other documents which may be required or requested by

any public or quasi-public authority or other party or entity to effectuate the applicable transfers

of the Assigned Contracts in connection with the relief requested in the Motion and approved by

this MOGUS Order.

        34.     Nothing in this MOGUS Order, the Motion, or in any notice or any other

document is or shall be deemed to be an admission by the Debtor that any contract or Assigned

Contract is an executory contract or unexpired lease or must be assumed and assigned pursuant

to the Agreements or in order to consummate the relief requested in the Motion and approved by

this MOGUS Order.



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        35.     Upon the payment of the Cure Amount, if any, with respect to an Assigned

Contract, the counterparty to such Assigned Contract shall be forever barred and enjoined from

raising or asserting against (a) MOGUS, (b) any of their respective affiliates, successors, or

assigns, (c) the Debtor, or (d) the Canyon Express Assets, any assignment fee, default, breach,

claim, pecuniary loss, or condition to assignment arising under or related to the Assigned

Contracts existing as of February 27, 2014 or arising by reason of the closing of the transactions

contemplated by the Agreements and the Motion, except for any amounts that are Assumed

Obligations.

        36.     The Debtor is authorized pursuant to 11 U.S.C. § 363(f) and 365 to assume (to

the extent required) and transfer, convey and/or assign to MOGUS, free and clear of all Claims

and Interests, its “holder” status in and to the right-of-way grants associated with the CEPS,

subject to approval of the Agencies and the rules and regulations applicable thereto.

                                  Rejection of Certain Contracts

        37.     The Debtor is authorized pursuant to 11 U.S.C. § 365 and the Prior Rejection

Order to reject those certain contracts and agreements associated with the Canyon Express

Assets to which the Debtor is a party that are identified on Exhibit 4 to the Motion.

Notwithstanding such rejection, MOGUS (i) shall make certain voluntary payments to certain

creditors with claims or potential claims against the Canyon Express Assets, but expressly

limited to an amount not to exceed the amount per creditor as identified on Exhibit 5 to the

Motion; (ii) may enter into new and separate contracts or agreements associated with the

Canyon Express Assets which will obligate MOGUS to be responsible for such expenses and/or

costs associated therewith going forward, and (iii) stipulates that it will not pursue or file any

rejection damage claims pursuant to 11 U.S.C. § 365 as a result of the rejection of the contracts

and agreements identified on Exhibit 4 to the Motion. Debtor will not be responsible for any

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sums identified on Exhibit 5 to the Motion, and if any amounts remain due and owing to such

creditors after payment by MOGUS, Debtor will file a notice of rejection, and the procedures

mandated by the Prior Rejection Order will be implemented.




                                    Interior/BOEM Provisions

        38. Nothing in this MOGUS Order or the Agreements eliminates or modifies the

requirement to obtain consent for the transfer of the Canyon Express Assets from the United

States Department of the Interior and/or the Agencies, as applicable.

        39.     Nothing in this MOGUS Order or the Agreements releases, nullifies, precludes,

or enjoins the enforcement of any liability to a government unit under environmental statutes or

regulations (the "Environmental Laws") that any entity would be subject to as the owner or

operator of the Canyon Express Assets, as applicable.

        40.     Nothing in this MOGUS Order or the Agreements authorizes the transfer or

assignment to MOGUS of any governmental licenses, permits, rights-of-way, rights-of-use and

easements, contracts, registration, authorizations, approvals, agreements or other interests

without MOGUS’s compliance with all applicable legal requirements under non-bankruptcy law

governing such transfers or assignments.

                       Preservation of Rights Regarding ORRIs and NPIs

        41.     Notwithstanding anything contained herein or in the Agreements to the contrary,

nothing contained herein shall constitute a finding of fact, conclusion of law, or otherwise

constitute an adjudication or opinion by this Court that any of the Canyon Express Assets (as

such term is defined in the Motion) or any OCS lease or right of way constitutes an executory

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contract or an unexpired lease pursuant to Section 365 of the Bankruptcy Code. Moreover,

nothing contained in this MOGUS Order or the Agreements shall restrict or impair the rights,

claims, actions, defenses, remedies or interests of the holders of overriding royalty interests,

production payments, net profits interests, carried interests or similar interests (the “ORRI/NPI

Holders”) and/or any other party under applicable law (i) regarding title to, or the validity of,

such interests or the production proceeds attributable to such interests, if any; or (ii) with respect

to any pending litigation involving the Debtor and/or Bennu Oil and Gas, LLC regarding, among

other things, the nature of the interest held by the ORRI/NPI Holders, including, but not limited

to, whether the conveyances creating such interests effected conveyances of immovable or real

property interests and whether such conveyances are contracts subject to the provisions of

Section 365 of the Bankruptcy Code, and all parties’ rights with respect to the matters set forth in

this paragraph are reserved. For purposes of clarity, the Court also determines that (a) solely and

only insofar as it relates to the CE Inventory and the ROWs and for no other purposes

whatsoever, that there is no ORRI/NPI attributable or applicable thereto and (b) none of the CE

Inventory is, or is in the nature of, an OCS lease or right-of-way.

                                          Other Provisions

        42.     Except as provided in paragraph 61, This MOGUS Order, the Agreements, and

all documents ancillary thereto shall be binding in all respects upon all successors and assigns of

the Debtor, and any of their respective affiliates and subsidiaries, any trustees, liquidating

trustee and/or representative, examiners, “responsible persons,” or other fiduciaries appointed in

the Debtor’s Chapter 11 case or upon a conversion of such case to a case under Chapter 7 of the

Bankruptcy Code or in connection with any plan of reorganization that may be confirmed in the

Chapter 11 case, provided that, for avoidance of doubt, this MOGUS Order shall also be binding



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on all of the Debtor’s creditors and equity holders. The Agreements and any documents

ancillary thereto shall not be subject to rejection or avoidance under any circumstances.

        43.     The Agreements and all documents ancillary thereto may be modified, amended,

or supplemented by the parties thereto in a writing signed by the parties, in accordance with the

terms thereof, without further order of the Court; provided that any modification, amendment, or

supplement that has a material adverse effect on the Debtor’s estate or a material adverse effect

on the rights or interests of any third party may only be made after notice and hearing.

        44.     The consideration provided by MOGUS to the Debtor pursuant to the

Agreements, the Motion, and this MOGUS Order constitutes reasonably equivalent value and

fair consideration under the Bankruptcy Code, Uniform Fraudulent Transfer Act, Uniform

Fraudulent Conveyance Act, and under the laws of the United States, any state, territory,

possession, or the District of Columbia.

        45.     The transactions contemplated by the Agreements and set forth in the Motion are

undertaken by MOGUS without collusion and in good faith, as that term is defined in Section

363(m) of the Bankruptcy Code, and, accordingly, the reversal or modification on appeal of the

authorization provided herein to consummate the relief in the Motion and approved by this

MOGUS Order shall not affect the validity of the transfer, conveyance and/or quitclaim free and

clear of Claims and Interests, unless such authorization is duly stayed pending such appeal.

MOGUS is a good faith purchaser within the meaning of Section 363(m) of the Bankruptcy

Code, and under other applicable Bankruptcy and non-Bankruptcy Law, as such, is entitled to

the full protections under Section 363(m) of the Bankruptcy Code and under other applicable

Bankruptcy and non-Bankruptcy Law.

        46.     Nothing contained in any plan of reorganization or liquidation, or order of any

type or kind entered in (a) this Chapter 11 case, (b) any subsequent Chapter 7 case into which

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this Chapter 11 case may be converted, or (c) any related proceeding subsequent to entry of this

MOGUS Order, shall conflict with or derogate from the provisions of the Agreements or the

terms of this MOGUS Order.

        47.     No bulk sales law or any similar law of any state or other jurisdiction applies in

any way to the transactions contemplated by the Motion and the Agreements.

        48.     The failure to specifically include any particular provision of the Agreements in

this MOGUS Order shall not diminish or impair the effectiveness of such provision, it being the

intent of the Court that the Agreements be authorized and approved in their entirety as modified

herein; provided, however, that this MOGUS Order shall govern if there is any inconsistency

between the Agreements (including all documents ancillary thereto) and this MOGUS Order.

Likewise, all of the provisions of this MOGUS Order are non-severable and mutually

dependent.

        49.     The Court shall retain jurisdiction to, among other things, interpret, implement,

and enforce the terms and provisions of this MOGUS Order and the Agreements, all

amendments thereto, and any waivers and consents thereunder, and each ancillary document

executed in connection therewith to which the Debtor is a party or which has been assigned by

the Debtor to MOGUS, and to adjudicate, if necessary, any and all disputes concerning or

relating in any way to the this MOGUS Order and the Agreements, including, but not limited

to, retaining jurisdiction to (a) compel delivery of the Debtor’s interest in the CE Inventory to

MOGUS, (b) interpret, implement, and enforce the provisions of this MOGUS Order, and (c)

protect MOGUS against any Claims and Interests or any other interest in or against the Debtor

or the Debtor’s interest in the CE Inventory of any kind or nature whatsoever.

        50.     All time periods set forth in this MOGUS Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).

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        51.     The provisions of this MOGUS Order and any actions taken pursuant hereto shall

survive entry of any order which may be entered: (a) confirming any plan of reorganization in

this case including but not limited to the establishment and transfer of any rights and/or

obligations of the Debtor to a liquidating trust and/or liquidating trustee or representative; (b)

converting this case to a case under Chapter 7 of the Bankruptcy Code; (c) dismissing this case;

or (d) pursuant to which this Court abstains from hearing this case.

        52.     To the extent that this MOGUS Order is inconsistent with the Agreements or any

prior order or pleading with respect to the Motion in this Chapter 11 case, the terms of this

MOGUS Order shall govern.

                      Approval of Settlements and Compromises Reached
                         Among the Debtor, MOGUS, and Williams

        53.     The Court specifically finds and concludes that the conveyance of the Debtor’s

right, title and interest in the CE Inventory to MOGUS and the related relief requested in the

Motion in exchange for receiving the consideration to be provided by MOGUS under the

Agreements and in the Motion, including, but not limited to: (a) MOGUS’ release of its

administrative expense claims against the Debtor’s estate and (b) the satisfaction by MOGUS of

Williams’ administrative expense claims asserted against the Debtor’s estate, is a good, fair and

reasonable settlement of the contractual obligations that exist between the Debtor and MOGUS,

and between the Debtor and Williams, and is in the best interest of the Debtor’s estate. Without

limiting the generality of the foregoing, subject to the provisions of Paragraph 57 herein and the

agreements, MOGUS, has agreed, and the Court hereby orders that MOGUS shall be deemed to

release, remise, acquit and forever discharge ATP and each of its affiliates, representatives and

successors in interest (including, without limitation, its bankruptcy estate and any trustee or

officer appointed by the Court with respect thereto), (collectively, the “ATP Released Parties”),


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separately and jointly, of and from any and all claims (as such term is defined under Section

101(5) of the Bankruptcy Code) MOGUS has, has had, or may have in the future against any or

all of the ATP Released Parties for (y) recovery of administrative expenses (whether or not such

claim is entitled to any priority or administrative expense status under Section 503, Section 507

or otherwise under the Bankruptcy Code), and (z) any proof of claims filed by MOGUS.

        54.     The Debtor is authorized to enter into and to execute the Abandonment Fund

Agreement and the Contribution Agreement.

        55.     The Debtor is authorized to encumber, hypothecate, pledge, mortgage and/or

secure to and in favor of the Decommissioning Escrow, free and clear of all other liens, claims

and encumbrances other than the security interest provided herein, all of its right, title and

interest in and to that certain obligation of Marathon Oil Company to remit and/or pay the sum

of $12,500,000.00 upon satisfaction of certain decommissioning obligations, as more

particularly set forth in that certain Marathon PSA. In addition, the Debtor is authorized to

encumber, hypothecate, pledge, mortgage and/or secure to and in favor of the Decommissioning

Escrow, free and clear of all other liens, claims and, all of its remaining right, title and interest

in and to any of the Canyon Express Assets retained pursuant to the terms hereof.

        56.     The Debtor is authorized (i) to waive, relinquish, cancel, forgive and forego any

and all right, claim and interest in and to any claims for; (ii) to accept no sum of money for; and

(iii) not to seek recovery, reimbursement, or payment from, nor to make any demand for, any

JIB against MOGUS relative to the Canyon Express Assets, which is asserted by Debtor to be in

the amount of $2,060,084.50 and which amount is disputed by MOGUS.

        57.     The filing of the Motion, the entry of this MOGUS Order or any such other and

further agreements contemplated by the Motion and/or designed to carry out the purposes and

intent of the Parties, including but not limited to this MOGUS Order, is not meant to and does

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not in any way operate to deter, detract, diminish, waive, relinquish, cancel, extinguish, or affect

any and all rights and claims of MOGUS to seek and/or assert rights of and claims for

subrogation, contribution, reimbursement, demand, compensation and/or payment against any

person and/or entity other than directly against the ATP Released Parties for any and all sums

incurred by MOGUS in connection with the decommissioning obligations arising in, related to

or in connection with the Canyon Express Assets.

        58.     The Debtor is authorized to assign its rights and obligations in the Abandonment

Fund Agreement attached as Exhibit 6 to the Motion and the Contribution Agreement attached

as Exhibit 7to the Motion, as well as its rights retained in MC 348, CEPS, any other Canyon

Express Assets, and any contracts or agreements identified on Exhibit 10 to the Motion assumed

by the Debtor but not assigned to MOGUS, to a liquidating trust or similar entity created

pursuant to the terms of a plan of reorganization that is confirmed in Debtor’s Chapter 11 case.

        59.     The Debtor is authorized and ordered to designate MOGUS operator for any of

the other Canyon Express Assets for which such designation is appropriate or allowed under

applicable Agency regulations.

        60.     J.R. Latimer III, Chief Restructuring Officer of the Debtor, is hereby authorized

and empowered to execute all documents required to consummate the transactions contemplated

hereby pursuant to previous orders of this Court and Power-of-Attorney filings with the

Adjudication Section of BOEM.

         61.    As used herein, “Decommissioning” means decommissioning, plugging, and/or

abandonment of federal offshore oil and gas leases and/or wells, pipelines or other facilities

located thereon, including, but not limited to, the ATP Obligations (as defined herein or in the

Agreements) pursuant to, or as required by, applicable federal laws and regulations including



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without limitation the Code of Federal Regulations at Title 30, parts 250 and 550, and/or

pursuant to the terms of the applicable oil and gas leases, easements or rights of way.

          62.   Except as to the provisions in Paragraph 41 and as Paragraph 41 relates to the CE

Inventory and ROWs (as defined herein), notwithstanding any provision herein to the contrary

nothing contained in this MOGUS Order or the Agreements authorized herein shall constitute a

finding of fact, conclusion of law, or otherwise constitute an adjudication, injunction, release,

comment upon, ruling or opinion by this Court: (a) with respect to the rights and claims

(including filed Proof of Claims or Administrative Claims) of BP and Total including to the

extent BP or Total may be Third Party Obligors (as that term is defined under the Agreements)

or the rights of MOGUS vis-à-vis any Third Party Obligors including to the extent BP or Total,

or (b) with respect to the following agreements (related to the Kings Peak Leases, MC305,

MC348, or the Canyon Express Assets): (i) that certain Purchase and Sale Agreement by and

between BP Exploration & Production, Inc. (“BP”) and MOGUS dated December 8, 2003; (ii)

that certain Purchase and Sale Agreement by and between BP and ATP dated September 21,

2005; (iii) that certain Purchase and Sale Agreement by and between Total E&P USA, Inc.

(“Total”) and ATP dated December 4, 2006; and (iv) that certain Unit Agreement for Outer

Continental Shelf Exploration, Development, and Production Operations on the Mississippi

Canyon Block 217 Unit, Contract No. 754398011 or (v) the Operating Agreements dated and

effective January 30, 2004 and pertaining to the Kings Peak Leases and the Unit Operating

Agreements pertaining to MC305 and 348 (the “Operating Agreements”). Furthermore, this

MOGUS Order or any agreement as to cure amounts or adequate assurance of future

performance as between MOGUS and ATP shall not be binding on or otherwise probative of any

contract claims, proofs of claim or rights of BP or Total including to the extent BP or Total may



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be Third Party Obligors or MOGUS vis-à-vis any Third Party Obligors including to the extent

BP and Total.

        63.     Moreover, nothing contained in this MOGUS Order or the Agreements other than

the provisions in Paragraph 41 and as Paragraph 41 relates to the CE Inventory and ROWs (as

defined herein), shall: (a) alter, define, diminish, waive, relinquish, amend, bind, restrict, impair,

enjoin or adjudicate the rights, including but not limited to the rights to seek reimbursement,

contribution and/or subrogation, claims, actions, defenses, remedies, or interests of MOGUS, BP

and/or Total under the Kings Peak Leases and the MC305 and MC348 leases, the Operating

Agreements, or any related contracts, whether at law or in equity including, but not limited to,

responsibility for claims regarding ATP’s share of lease obligations including Decommissioning

expenses, or (b) constitute an agreement to confer jurisdiction upon this Court to adjudicate any

rights or disputes between MOGUS, BP and/or Total with respect to the responsibility for or

claims in any way regarding ATP’s share of lease obligations, including Decommissioning

expenses, for MC305, MC348, the Kings Peak Leases or the Canyon Express Assets. All such

rights as between MOGUS, BP and Total are expressly reserved, preserved and/or maintained

without prejudice.

        64.     Notwithstanding any other provision of this MOGUS Order or the Agreements,

MOGUS and ATP acknowledge and agree that all sums that are (i) expended by the Fund (as

defined in the Agreements), (ii) paid as reimbursement by the Fund to MOGUS under the

Agreements, and/or (iii) received by MOGUS on account of the Camden Hills DOR ORRI (as

defined in the Agreements), shall be deemed and considered for all purposes to be expenditures

made by ATP and/or on behalf of ATP, and shall constitute payment of a portion of ATP’s share

of Decommissioning. Such sums shall be allocated to the applicable lease and/or facility for

which such sums were actually expended or reimbursed for Decommissioning work.

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        65.     Without acknowledging any responsibility, obligation or liability therefore,

notwithstanding any other provision of this MOGUS Order or the Agreements, MOGUS and

ATP acknowledge and agree that this MOGUS Order and the Agreements are without prejudice

as to any of the respective rights, claims, actions, defenses, remedies, and responsibilities of and

will not impair BP’s or Total’s, including to the extent they may be Third Party Obligors, ability

to complete or perform any Decommissioning ordered by BSEE, with all such rights, actions,

claims, defenses, remedies, and interests being fully reserved.


        66.     For avoidance of doubt, no aspect of this MOGUS Order or the Agreements shall

deny BP or Total reasonable access to the well records, wells, or leases in order to perform

Decommissioning work in response to any BSEE order.

        67.     BP, Total and MOGUS agree to cooperate with one another in good faith to

facilitate the availability of and use on a mutually agreeable basis not to be unreasonably

withheld, access to the Canyon Express Pipeline System and/or other Canyon Express Assets,

and to the extent then available and subject to MOGUS’ and any third party’s entitlement to

reasonable compensation therefore the CE Inventory, should same be necessary in order to

perform Decommissioning work in response to any BSEE order.

        68.     Accordingly, the Agreements are approved in all respects pursuant to Bankruptcy

Rule 9019, and pursuant to Sections 105(a), 363 and 365 of the Bankruptcy Code, the Debtor is

hereby authorized to enter into them and shall take all actions necessary to fully implement the

settlements and compromises of claims and disputes between the Debtor and MOGUS as set

forth in such Agreements and between the Debtor and Williams as set forth in the Motion.




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SIGNED this ____ day of _________________, 2014.


                                                ____________________________________
                                                MARVIN ISGUR
                                                UNITED STATES BANKRUPTCY JUDGE




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                   Exhibit 1
                     Abandonment Fund Agreement
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                   Exhibit 2
                        Contribution Agreement
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                    Exhibit 3
      Cure Amounts Related to Assumed and Assumed/Assigned Contracts
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              Canyon Express Contracts to be Assumed but not Assigned to MOGUS1

Unit Operating Agreement dated effective January 30, 2004 between BP Exploration &
Production Inc. and Marubeni Oil & Gas (USA) Inc. and pertaining to the Kings Peak Leases
(MC 173, MC 217, and DC 133)

           Counterparty:             Marubeni Oil & Gas (USA) Inc.
           Cure:                     $0.00

Operating Agreement for Aconcagua Prospect between Elf Exploration, Inc. and Mariner
Energy, Inc. dated effective May 1, 1998 and pertaining to MC 305

           Counterparty:             Marubeni Oil & Gas (USA) Inc.
           Counterparty:             Black Elk Energy Offshore Operations, LLC
           Cure:                     $0.00

Oil and Gas Lease of Submerged Lands, Serial Number OCS-G 19939, dated effective May 1,
1998, from The United States of America, as Lessor, to Marathon Oil Company, as Lessee
covering all of Block 348, Mississippi Canyon Area, OCS Official Protraction Diagram, NH 16-
10 containing approximately 5760 acres

           Counterparty:             Bureau of Ocean Energy Management
           Cure:                     $0.00


Offshore Operating Agreement by and between Marathon Oil Company, TOTAL Exploration
and Production USA Inc. and WI, Inc. dated May 1, 1998 and pertaining to MC 348.

           Counterparty:             Marubeni Oil & Gas (USA) Inc.
           Cure:                     $0.00

Purchase and Sale Agreement dated November 6, 2007, by and between Marathon Oil Company,
as Seller, and ATP Oil & Gas Corporation, as Buyer, and pertaining to interests in Mississippi
Canyon Block 348, OCS-G 19939 and the Canyon Express Pipeline System.

           Counterparty:             Marathon Oil Company
           Cute:                     $0.00

Canyon Express Pipeline System Operating Agreement dated effective June 1, 2000, by and
between Amoco Production Company, TotalFinaElf E&P USA, Inc., formerly Elf Exploration,
Inc., and as successor by merger to Total Exploration Production USA, Inc., Mariner Energy,
Inc., Pioneer Natural Resources USA, Inc. on behalf of itself and as successor in interest to
Baker Hughes International Branches, Inc., successor to WI, Inc., and Marathon Oil Company.


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    But only to the extent such contracts and agreements are subject to assumption under 11 USC §365.
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       Counterparty:         Marubeni Oil & Gas (USA) Inc.
       Counterparty:         Black Elk Energy Offshore Operations, LLC
       Cure:                 $0.00

First Amendment to the Canyon Express Pipeline System Operating Agreement dated effective
July 1, 2002, by and between TotalFinaElf E&P USA, Inc., Nippon Oil Exploration U.S.A.
Limited, Pioneer Natural Resources USA, Inc., BP Exploration & Production Inc., and Marathon
Oil Company.

       Counterparty:         Marubeni Oil & Gas (USA) Inc.
       Counterparty:         Black Elk Energy Offshore Operations, LLC
       Cure:                 $0.00

Letter of Intent Regarding the Canyon Express Pipeline dated August 9, 2000, by and between
Amoco Production Company, Elf Exploration, Inc., Marathon Oil Company, Mariner Energy,
Inc., Total Exploration Production USA, Inc., Pioneer Natural Resources USA, Inc., and WI, Inc.

       Counterparty:         Marubeni Oil & Gas (USA) Inc.
       Counterparty:         Black Elk Energy Offshore Operations, LLC
       Cure:                 $0.00

First Letter Amendment to the Letter of Intent Regarding the Canyon Express Pipeline dated
September 6, 2000, by and between Marathon Oil Company, Amoco Production Company,
Mariner Energy, Inc., Pioneer Natural Resources USA, Inc., Total Exploration Production USA,
Inc., and WI, Inc.

       Counterparty:         Marubeni Oil & Gas (USA) Inc.
       Counterparty:         Black Elk Energy Offshore Operations, LLC
       Cure:                 $0.00

Second Letter Amendment to the Letter of Intent Regarding the Canyon Express Pipeline dated
September 12, 2000, by and between Marathon Oil Company, Amoco Production Company,
Mariner Energy, Inc., Pioneer Natural Resources USA, Inc., Total Exploration Production USA,
Inc., and WI, Inc.

       Counterparty:         Marubeni Oil & Gas (USA) Inc.
       Counterparty:         Black Elk Energy Offshore Operations, LLC
       Cure:                 $0.00

Third Letter Amendment to the Letter of Intent Regarding the Canyon Express Pipeline dated
September 22, 2000, by and between Marathon Oil Company, Amoco Production Company,
Mariner Energy, Inc., Pioneer Natural Resources USA, Inc., Total Exploration Production USA,
Inc., and WI, Inc.

       Counterparty:         Marubeni Oil & Gas (USA) Inc.
       Counterparty:         Black Elk Energy Offshore Operations, LLC
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       Cure:                  $0.00

Letter Agreement Regarding the Canyon Express Pipeline System dated September 13, 2000, by
and between Amoco Production Company, Elf Exploration, Inc., Mariner Energy, Inc., Pioneer
Natural Resources USA, Inc., Marathon Oil Company, Total Exploration Production USA, Inc.,
and Baker Hughes International Branches, Inc., successor to WI, Inc.

       Counterparty:          Marubeni Oil & Gas (USA) Inc.
       Counterparty:          Black Elk Energy Offshore Operations, LLC
       Cure:                  $0.00

Canyon Express Pipeline System Construction Management Agreement dated effective June 1,
2000, by and between Amoco Production Company, TotalFinaElf E&P USA, Inc., formerly Elf
Exploration, Inc., and as successor by merger to Total Exploration Production USA, Inc.,
Mariner Energy, Inc., Pioneer Natural Resources USA, Inc. on behalf of itself and as successor
in interest to Baker Hughes International Branches, Inc., successor to WI, Inc., and Marathon Oil
Company

       Counterparty:          Marubeni Oil & Gas (USA) Inc.
       Counterparty:          Black Elk Energy Offshore Operations, LLC
       Cure:                  $0.00

Canyon Express Service Agreement dated effective June 1, 2000, by and between TotalFinaElf
E&P USA, Inc., Amoco Production Company, and Marathon Oil Company, regarding the Infield
Services to be provided in the Camden Hills field

       Counterparty:          Marubeni Oil & Gas (USA) Inc.
       Counterparty:          Black Elk Energy Offshore Operations, LLC
       Cure:                  $0.00

Flowline Installation and Umbilical Supply and Installation Contract executed December 4, 2000
but made effective August 29, 2000, by and between Elf Exploration, Inc. and Saipem Inc., for
installation of a flowline for the supply and installation of a control umbilical and the associated
appurtenances from the Virgo platform to the King’s Peak, Aconcagua, and Camden Hills fields

       Counterparty:          Marubeni Oil & Gas (USA) Inc.
       Counterparty:          Black Elk Energy Offshore Operations, LLC
       Cure:                  $0.00

Data Exchange Agreement dated effective September 11, 2000, by and between Marathon Oil
Company, Elf Exploration, Inc., BP Amoco Exploration, TOTAL Exploration Production USA,
Inc., WI, Inc., Mariner Energy, Inc., and Pioneer Natural Resources USA, Inc.

       Counterparty:          Marubeni Oil & Gas (USA) Inc.
       Counterparty:          Black Elk Energy Offshore Operations, LLC
       Cure:                  $0.00
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             Canyon Express Contracts to be Assumed and Assigned to MOGUS2


Existing 6-inch Bulk Gas Right-of-Way Pipeline (ROW OCS-G 22437, Segment 13255)
Originating at Subsea Well No. 002, Desoto Canyon Block 133 and Terminating at Subsea Kings
Peak West SLED HUB, Desoto Canyon Block 133, OCS Federal Waters, Gulf of Mexico,
Offshore, Louisiana

        Counterparty:           Bureau of Safety and Environmental Enforcement
        Cure:                   $0.00

Existing 5-Inch Umbilical Right-of-Way Pipeline (ROW OCS-G 22437, Segment 13256)
Originating at EHDU, Desoto Canyon Block 177 and Terminating at Subsea Well No.002,
Desoto Canyon Block 133, OCS Federal Waters, Gulf of Mexico, Offshore, Louisiana

        Counterparty:           Bureau of Safety and Environmental Enforcement
        Cure:                   $0.00

Existing 12-Inch Bulk Gas Right-of-Way Pipeline (ROW OCS-G 22429, Segment 13233)
Originating at Subsea Well No. 001, Mississippi Canyon Block 348 and Terminating at Subsea
Manifold JP, Main Pass Block 261, OCS Federal Waters, Gulf of Mexico, Offshore, Louisiana

        Counterparty:           Bureau of Safety and Environmental Enforcement
        Cure:                   $0.00

Existing 5-Inch Umbilical Right-of-Way Pipeline (ROW OCS-G 22429, Segment 13258)
Originating at EHDU, Desoto Canyon Block 177 and Terminating at Well No. 002, Desoto
Canyon Block 177, OCS Federal Waters, Gulf of Mexico, Offshore, Louisiana

        Counterparty:           Bureau of Safety and Environmental Enforcement
        Cure:                   $0.00


Existing 1-Inch Methanol Right-of-Way Pipeline (ROW OCS-G 22439, Segment 13259)
Originating at Kings Peak EHDU, Desoto Canyon Block 177 and Terminating at Kings Peak
MSUT, Desoto Canyon Block 177, OCS Federal Waters, Gulf of Mexico, Offshore, Louisiana

        Counterparty:           Bureau of Safety and Environmental Enforcement
        Cure:                   $0.00


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 But only to the extent such contracts and agreements are subject to assumption and assignment under 11 USC
§365.
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Existing 1-Inch Methanol Right-of-Way Pipeline (ROW OCS-G 22440, Segment No. 13260)
Originating at Kings Peak EHDU, Desoto Canyon Block 177 and Terminating at Kings Peak
MDU, Desoto Canyon Block 177, OCS Federal Waters, Gulf of Mexico, Offshore, Louisiana

      Counterparty:        Bureau of Safety and Environmental Enforcement
      Cure:                $0.00

Existing 12-Inch Bulk Gas Right-of-Way Pipeline (ROW OCS-G 22430, Segment 13234)
Originating at Subsea Well No. 001, Mississippi Canyon Block 348 and Terminating at Subsea
JP, Main Pass Block 261, OCS Federal Waters, Gulf of Mexico, Offshore, Louisiana

      Counterparty:        Bureau of Safety and Environmental Enforcement
      Cure:                $0.00

Existing 2-Inch Methanol and 6-Inch Umbilical Right-of-Way Pipeline (ROW OCS-G 22431,
Segments No. 13235 and 13236) Originating at JP Platform, Main Pass Block 261 and
Terminating at Subsea Well No. 002, Mississippi Canyon. Block 348, OCS Federal Waters,
Gulf of Mexico, Offshore, Louisiana

      Counterparty:        Bureau of Safety and Environmental Enforcement
      Cure:                $0.00

Existing 6-Inch Bulk Gas Right-of-Way Pipeline (ROW OCS-G 22432, Segment 13247)
Originating at Subsea Well No 001, Mississippi. Canyon Block 348 and Terminating at Subsea
Camden Hills West PLET, Mississippi Canyon Block 348, OCS Federal Waters, Gulf of
Mexico, Offshore, Louisiana

      Counterparty:        Bureau of Safety and Environmental Enforcement
      Cure:                $0.00

Existing 5-inch Umbilical Right-of-Way Pipeline (ROW OCS-G 22433, Segment 13249)
Originating at Subsea Well No. 002, Mississippi Canyon Block 348 and Terminating at Subsea
Well No.001, Mississippi Canyon Block 348, OCS Federal Waters, Gulf of Mexico, Offshore,
Louisiana

      Counterparty:        Bureau of Safety and Environmental Enforcement
      Cure:                $0.00

Existing 6-Inch Bulk Gas Right-of-Way Pipeline (ROW OCS-G 22433, Segment 13248)
Originating at Subsea Well No. 002, Mississippi Canyon Block 348 and Terminating at Subsea
Camden Hills East Sled, Mississippi Canyon Block 348, OCS Federal Waters, Gulf of Mexico,
Offshore, Louisiana

      Counterparty:        Bureau of Safety and Environmental Enforcement
      Cure:                $0.00
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Existing 12-Inch Bulk Gas Right-of-Way Pipeline (ROW OCS-G 22434, Segment 13250)
Originating at Camden Hills West PLET, Mississippi Canyon Block 348 and Terminating at
Camden Hills East PLET, Main Pass Block 348, OCS Federal Waters, Gulf of Mexico, Offshore,
Louisiana

      Counterparty:        Bureau of Safety and Environmental Enforcement
      Cure:                $0.00

Existing 6-inch Bulk Gas Right-of-Way Pipeline (ROW OCS-G 22435, Segment 13251)
Originating at Subsea Well No. 002, Mississippi Canyon Block 173 and Terminating at
Subsea Manifold Kings Peak West SLED, Mississippi Canyon Block 173, OCS Federal
Waters, Gulf of Mexico, Offshore, Louisiana

      Counterparty:        Bureau of Safety and Environmental Enforcement
      Cure:                $0.00

Existing 5-Inch Umbilical Right-of-Way Pipeline (ROW OCS-G 22435, Segment 13252)
Originating at EHDU, Desoto Canyon Block 177 and Terminating at Well No. 2,
Mississippi Canyon Block 173, OCS Federal Waters, Gulf of Mexico, Offshore,
Louisiana

      Counterparty:        Bureau of Safety and Environmental Enforcement
      Cure:                $0.00

Existing 6-Inch Bulk Gas Right-of-Way Pipeline (ROW OCS-G 22436, Segment 13253)
Originating at Subsea Well No. 003, Mississippi Canyon Block 217 and Terminating at Subsea
Kings Peak West SLED, Mississippi Canyon Block 217, OCS Federal Waters, Gulf of Mexico,
Offshore, Louisiana

      Counterparty:        Bureau of Safety and Environmental Enforcement
      Cure:                $0.00

Existing 5-Inch Umbilical Right-of-Way Pipeline (ROW OCS-G 22436, Segment 13254)
Originating at EHDU, Desoto Canyon Block 177 and Terminating at Subsea Well No. 003,
Mississippi Canyon Block 217, OCS Federal Waters, Gulf of Mexico, Offshore, Louisiana

      Counterparty:        Bureau of Safety and Environmental Enforcement
      Cure:                $0.00

Existing 5-Inch Umbilical Right-of-Way Pipeline (ROW OCS-G 22438, Segment 13258)
Originating at EHDU, Desoto Canyon Block 177 and Terminating at Well No. 002, Desoto
Canyon Block 177, OCS Federal Waters, Gulf of Mexico, Offshore, Louisiana

      Counterparty:        Bureau of Safety and Environmental Enforcement
      Cure:                $0.00
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